UNITED STATES DISTRICT COURT                             EASTERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA                      §
                                              §
versus                                        §
                                              §           CASE NO. 4:16-CR-176
CHARLES NORMAN MORGAN,                        §
BIBIANA CORREA PEREA, and                     §
JAMES MORRIS BALAGIA                          §

                              ORDER TRANSFERRING CASE

         The above-styled action is transferred from the undersigned to the Honorable Amos L.

Mazzant, .III.
        SIGNED at Beaumont, Texas, this 7th day of September, 2004.
          SIGNED at Beaumont, Texas, this 25th day of February, 2019.




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                                                      MARCIA A. CRONE
                                               UNITED STATES DISTRICT JUDGE
